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                EXHIBIT A
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CPC Recommendations on SPD’s proposed Use of Force and Crowd Management policies
January 29, 2021

                  CPC Recommendation                                        SPD Policy                     Community Feedback
 1. Protect the sanctity of human life as the primary guideline    8.000 Principles          •   Community has made numerous calls for an
 of how and when force is applied.                                 8.050 Definitions             objective and transparent review of SPD policies.
                                                                   8.200 Using Force         •   During the Town Hall, community concern with the
                                                                                                 disregard for individuals’ lives, bodies, and
                                                                                                 wellbeing, particularly when compared to
                                                                                                 property, was loud and clear.
 2. Partner with community to redefine the “objectively            8.000 Principles          •   The term “objectively reasonable” still permits
 reasonable” standard of force and “proportional” standard of      8.050 Definitions             officers to use force whenever they deem
 force toward a policy that limits force to the least amount       8.200 Using Force             necessary, as long as they can justify their actions
 necessary.                                                                                      based on facts and circumstances an officer faces.
                                                                                                 There needs to be more accountability regarding
                                                                                                 the explanatory process of such actions.
                                                                                             •   Whatever the use of force is, it must be
                                                                                                 proportional to the threat/subject of the
                                                                                                 circumstances. De-escalation tactics must be used
                                                                                                 when it is safe to do so, in order to reduce the
                                                                                                 need for force.
 3. Collaborate with community to determine non-violent            8.050 Definitions         •   Community members have been hurt and
 approaches and strategies in response to 1st Amendment            8.200 Using Force             traumatized by the use of potentially lethal
 activities and share with community the strategies that will      8.300 Tools                   weapons on their bodies, on their peers, and in
 be put implemented.                                               14.090 Crowd Management       their neighborhoods.
                                                                                             •   While there may be a need for these weapons in
                                                                                                 patrol operations, there is no justification for their
                                                                                                 use in protests, rallies, marches, or
                                                                                                 demonstrations.
 4. Create clear, strong, and high standards for when police       14.090 Crowd Management   •   SPD must not continue to disperse protest if they
 can declare unlawful assemblies and riots. Additionally, if                                     view an “imminent threat”. The excuse of “threat”
 SPD issues an order to disperse or declares a riot, require the                                 has been used to justify police brutality for far too
 authorizing officers to thoroughly document and an agency                                       long and that needs to end now.
 outside of SPD to review all actions taken and their                                        •   Community members have referred to the
                                                                                                 standard of four or more persons engaging in

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outcomes. Make all documentation publicly available within                                        criminal activity as the bar to declare an assembly a
24 hours of the incident, effective immediately.                                                  riot too low.
5. Prohibit the use of all head and neck controls.                  8.050 Definitions         •   Use of force tactics should be described in concrete
                                                                    8.200 Using Force             terms. All actions such as head controls, kneeling
                                                                                                  on a person’s neck and carotid restraints should be
                                                                                                  prohibited.
                                                                                              •   Prohibiting specific holds, like carotid restraints,
                                                                                                  but quietly continuing to allow other forms of head
                                                                                                  and neck controls is misleading and violates
                                                                                                  community trust.
6. Prohibit the use of canines as a use of force option. That is,   8.050 Definitions         •   Community members have referred to the use of
for any use on humans, whether that is for pain or                  8.200 Using Force             canines as force options as “unconscionable” and
compliance. This does not include use of canines for tracking,      8.300 Tools                   “brutal.”
search and rescue, and explosives or drug detection.                                          •   They suggested that officers commanding a canine
                                                                                                  to bite should be removed as a use of force option.
7. Develop additional reporting requirements and other              8.050 Definitions         •   A community member recalled, as a child, the
processes to address potential trauma community members             8.400 Reporting and           trauma of seeing SPD officers point a gun at the
may face after having a firearm pointed at them or others in        Investigating                 heads of their family members.
proximity.                                                                                    •   Others have pointed that pointing a weapon can
                                                                                                  only escalate a situation.
8. Create additional clear and high standards for using and         8.200 Using Force         •   Community members believe force should not be
reporting on uses of force on people who are: restrained,                                         used on restrained people.
young, elderly, pregnant, “frail,” and those with disabilities.                               •   Community members want the policy updated to
                                                                                                  remove the option to use force on anyone already
                                                                                                  restrained, children, the elderly, pregnant people,
                                                                                                  “frail” people, or people with disabilities.
9. Extend similar protections to protest medics as the              14.090 Crowd Management   •   Community members has expressed concern about
proposed policy changes extend to journalists and legal                                           the potential targeting of protest medics at
observers.                                                                                        demonstrations
                                                                                              •   Community has expressed gratitude for the role of
                                                                                                  protests medics, such as the ones that helped save
                                                                                                  the life of a community member in Seattle who
                                                                                                  was struck in the chest with a blast ball and nearly
                                                                                                  died.



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10. Remove taser sparks, advisements, and warnings from         8.000 Principles                     •   Community members are shocked at what SPD
de-escalation tactics. Change “avoid taunting and insults” to   8.100 De-escalation                      considers de-escalation tactics. Many who have
strictly prohibit them. Add validating the experience of the                                             served in customer service, nursing, medical, and
people you are addressing and meeting them where they                                                    teaching roles shared their personal experience
are.                                                                                                     successfully de-escalating individuals who are
                                                                                                         behaving violently and not following instructions.
                                                                                                         They de-escalated without weapons and often
                                                                                                         without any physical contact.
                                                                                                     •   Community members agreed that anyone would
                                                                                                         respond to a taser spark or show of force as an
                                                                                                         escalating threat.
                                                                                                     •   The call for real non-violent de-escalation is clear.
11. Do not use weapons that have not been codified into         8.000 Principles                     •   Community members strongly condemned SPD’s
policy and do not introduce new weapons in policy without       8.050 Definitions                        quiet introduction of the pepper ball launcher and
them being vetted by community.                                 8.200 Using Force                        use of weapons that are not in policy.
                                                                8.300 Tools                          •   The people of Seattle deserve to be policed as they
                                                                                                         see fit.

                                                                Part of this recommendation –
                                                                not using policies that are not in
                                                                the manual – is beyond policy
                                                                edits.
12. Do not charge SPD officers with investigating the actions   8.400 Reporting and                  •   The police are policing themselves, which is not
of their fellow officers.                                       Investigation                            sufficient to maintain a true accountability system.

13. Humanize language throughout the SPD policy manual to       The word “subject” appears 253       •   Community members asked officers to see them as
prompt culture change. Replace “subject” with “person,”         times in policies 8.000 through          fellow humans, made of flesh, who can be hurt and
“tools” with “weapons,” and “less-lethal tools” with            8.500 and 14.090.                        traumatized – not as abstract “subjects.”
“potentially lethal weapons.” Remove all references to “us      The world “tool(s)” appears 49       •   Weapons designed to hurt or incapacitate human
versus them.” We encourage SPD to adopt this language           times in policies 8.000 through          beings are not akin to tools of a trade.
beyond the policies being reviewed.                             8.500 and 14.090.                    •   SPD officers have used “less-lethal tools” in near
                                                                The words “less-lethal” or “less         lethal or lethal ways. Community specifically
                                                                lethal” appear 38 times in 8.050,        requested that they be called what they are –
                                                                8.200, 8.300, 8.500, 14.090.             potentially lethal weapons.




                                                                                                                                                                 3
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                                                                    “Officer versus subject factors”    •   During the Town Hall, participants discussed the
                                                                    and “number of officers versus          fear officers feel of their own community
                                                                    subjects” appear in policy 8.050.       members, particularly people of color.
14. Publicize, annually, a schedule of all SPD policies that will   This recommendation is outside      •   Community members are frustrated they are not
be reviewed, when they will be under review during that             of specific policy edits.               regularly included in SPD policy reviews.
year, and deadlines for feedback.                                                                       •   There has not been sufficient time for these
                                                                                                            proposals to be read or reviewed by anyone in the
                                                                                                            community.
15. Disclose to the community, within 60 days of this letter,       This recommendation is outside      •   Community members are tired of being called to
how SPD has incorporated community feedback and the                 of specific policy edits.               give feedback only to have their recommendations
recommendations issued here.                                                                                ignored. Engaging in these conversations takes
                                                                                                            exhausting emotional labor, not to mention time
                                                                                                            and resources. Ignoring their input is counter to
                                                                                                            centering their voices and does not build trust.
                                                                                                        •   This is consistent with SPD’s stated commitment to
                                                                                                            re-envisioning public safety together. Community
                                                                                                            members were given very little time and yet
                                                                                                            showed up to read, analyze, discuss, and give
                                                                                                            feedback on hundreds of pages of policies. To
                                                                                                            believe in SPD’s good faith and build trust, they
                                                                                                            need to know that SPD will not waste their time
                                                                                                            and ignore their work.




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                EXHIBIT B
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Slr   Seattle
      Police Department


      February 3'd,2O2I


      Dear Director Grant,

      I am  writing with regard to your letter of January 29th providing the Community Police Commission's
      feedback on the Seattle Police Department's revisions to the Crowd Management and Use of Force policies
      I will address each of your recommendations separately below but want to note three specific points in
      response to your letter itself.

      First, there is no question that this year has been unprecedented in terms of the level of civil unrest that we
      have seen not just locally, but nationally. And while many events have proceeded without incident, we have
      also seen peaceful demonstrations infiltrated by individuals who clearly have no interest in a lawful exercise
      of First Amendment rights, but rather utilize the crowd as cover for what are often highly coordinated
      directed acts of destruction and violence. As I hope our policies reflect, we have made significant changes in
      the field over the summer to adapt to this new era of crowd management, including, most specifically,
      introducing tactics that allow for better isolation of individual actors such that we are able to allow
      assemblies to continue notwithstanding reasonable time, place, and manner restrictions that might
      otherwise be required.

      I also want to acknowledge concerns around the process by which these were brought before you and
      explain the process from our perspective. Under the Accountability Ordinance, SMC 3.29.300, engaging
      Community around SPD policies and practices is among the CPC's paramount duties, To this end, prior
      iterations of the CPC had a robust policy subcommittee, which met regularly, and to which meetings SPD
      was invited. ln advance of those meetings, the subcommittee would identify particular SPD policies they
      wished to review and provide community input with respect to those policies. This committee worked
      proactively; recognizing the timeline for SPD policy review, they did not wait for SPD to put a policy before
      them, but rather, as the policy manual itself is online and available for review at any point, made it a priority
      to act on their own schedule. lf that policy subcommittee is still meeting, SPD would welcome an invitation.
      I regret that there seemed to be misunderstanding as to the extent to which CPC was able to engage
      Community around these policies given the timeline as set by the Monitoring Plan, or the expectation that
      SPD would drive this process.

      You rightly note in your letter that SPD should not view these as CPC's final input, but rather as an important
      step in CPC's on-going work. We could not agree more. As we have consistently emphasized, policy
      development is, and should always be, an on-going, iterative process that is informed by experience and can
      agilely adapt to changing circumstances and expectations. The Office of the lnspector General, as you know,
      has convened a Sentinel Event Review panel to conduct a thorough, multi-faceted review of the events this
      summer, and the Office of Police Accountability continues to review individual acts over the course of the
      summer. Recommendations from both will continue to inform our learning process and without question
      factor into discussions around the next round of policy revisions. Just as SPD would welcome an invitation
      to any policy subcommittee meetings the CPC may convene, SPD appreciates the CPC's participation in
      these broader discussions with OPA and OIG as well.

      Finally, I want to circle back to your question of December 2020, as to what SPD would be doing to ensure
      the community voice is heard. While again SPD is respectful of CPC's codified role in this respect, I also want


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to assure you of the work SPD is doing to make sure that Community is heard, not only with respect to these
policies but as to the events of this past summer more broadly. l, personally, am out in the community
nearly every day, popping into businesses, walking neighborhoods, meeting with organizations small and
large. Our Collaborative Policing Bureau, likewise, is continuing its work within the community, both in
person where we can, and as we've adapted to the virtual platform. We have heard loudly anger and
frustration from all corners - from individuals impacted by SPD actions this summer, from business owners
decimated by vandalization and destruction, from communities asking for an end from what they see as
widespread decline in public order; as the public comments you provide with your submission likewise
reflect, community input on how SPD should manage public assemblies is far from consistent. While I
cannot promise that SPD policy will ever achieve the perfect balance between often conflicting interests,     I


can promise you that we will continue to listen, continue to engage, and in the spirit of iterative review and
reform I described above, continue to work to continually improve.

Turning to your specific recommendations, I note that your last recommendation (No. 15) asks for a
response within 60 days of your January 29th letter as to how SPD has incorporated community feedback
and the recommendations issued. As you know, this current round of policy revisions is due to be filed with
the Court on February 11th; where certain of your recommendations are accepted now, those will be noted
here and reflected in the policies that will be filed. Where further discussion is needed, I highlight that here,
but affirmatively commit that CPC will be a valued voice at the table as those discussions take place.

        Recommendation 1: Protect the sanctity of human life as the primary guideline of how and
        when force is applied.

        SPD Response: Both SPD policy and training emphasize   the sanctity of human life as of
        paramount importance. Responsive to your recommendation, we have added in more
        robust language reflecting this point and the Department's values in the introduction to
        Manual Section 8.000.

        Recommendation 2: Partner with community to redefine the "objectively reasonable"
        standard of force and "proportional" standard of force toward a policy that limits force to
        the least amount of force necessary.

        SPD Response: The definitions of the term "objectively reasonable" and the terms
        "necessary" and "proportional" are derived from case law as it has evolved around Fourth
        Amendment principles. While good policy should track the legal standards, SPD welcomes
        further suggestions from   CPC as   to how the definitions might be further refined.

        Recommendation 3: Collaborate with community to determine non-violent approaches
        and strategies in response to First Amendment activities and share with community the
        strategies that will be implemented.

        SPD Response: SPD understands      that much of the work coming out of the OIG's Sentinel
        Event Review will focus in this direction. SPD has consistently welcomed dialogue around
        alternatives to current training and equipment and looks forward to these continued
        discussions. At the same time, SPD must also be mindful of both the very real public safety
        threats that have emerged and will foreseeably continue to emerge when individuals intent
        on causing harm immerse themselves in otherwise peaceful assemblies, as well as lessons
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 from recent and historical events that inform crowd control practices. SPD welcomes any
 specific suggestions from the CPC as to how SPD might improve its crowd management
 practices while balancing the rights of all.

 Recommendation 4: Create clear, strong, and high standards for when police can declare
 unlawful assemblies and riots. Additionally, if SPD issues an order to disperse or declares a
 riot, require the authorizing officers to thoroughly document and an agency outside of SPD
 to review all actions taken and their outcomes. Make all documentation publicly within 24
 hours of the incident, effective immediately.

 SPD Response: Standards that govern when police can declare an unlawful assembly are
 set by state and local law; documentation requirements are established in the revisions to
 14.090 (Pol 8). SPD policy, training, and practice, however, is to facilitate public assemblies
 well beyond these legal standards. SPD remains a willing partner in any further
 conversations on these points. Practical considerations around external agency review and
 the 24-hour timeline post-incident for public distribution of review documents likely
 preclude the viability of these requests, but if CPC has thoughts on how this might be
 implemented, or if CPC has specific suggestions around standards for declaring an unlawful
 assembly, SPD welcomes discussion.

 Recommendation     5:    Prohibit the use of all head and neck controls.

 SPD Response: Previously, SPD policy prohibited     the use of neck and carotid restraints
 except in deadly force scenarios. Present policy revisions now prohibit these tactics
 outright, including any tactic that would involve placing a knee on a subject's neck.
 Recently, SPD provided a training demonstration to some members of the CPC to explain
 control tactics, including tactics that involve de minimis head control. Feedback from those
 CPC members reflected that such demonstration was helpful in understanding what is
 meant by these terms. SPD suggests further discussion around this point.

  Recommendation 6: Prohibit the use of canines as a use of force option. That is, for any
  use on humans, whether that is for pain or compliance. This does not include the use of
  canines for tracking, search and rescue, and explosives or drug detection.

 SPD Response: The current revisions    to policy more narrowly circumscribe the
  circumstances in which a canine can be deployed or used for apprehension. I also
  understand the concerns around the use of canines that are being debated both at the state
  and national level. I also believe, however, that canines provide a valuable alternative to a
  higher use of force in some circumstances. We are closely tracking the state legislation in
  this area.

  Recommendation     7:   Develop additional reporting requirements and other processes to
  address potential trauma community members may face after having a firearm pointed at
  them or others in proximity.

  SPD Response: SPD was one of the first agencies   to require reporting around the pointing
  of a firearm as a use of force and worked with the DOJ and the Monitoring Team to develop
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  the reporting standards. lf   CPC has specific   reporting suggestions it would like to propose,
  we welcome discussion.

  Recommendation 8: Create additional clear and high standards for using and reporting
  on uses of force on people who are: restrained, young, elderly, pregnant, "frail," and those
  with disabilities.

  SPD Response: Consideration of these facts is    implicit in the factors to be considered in
  assessingthe reasonablenessof force used (8.050)and is addressed elsewhere in policy. lf
  CPC has specific suggestions it would like to propose, we welcome discussion.

  Recommendation 9: Extend similar protections to protest medics            as   the proposed policy
  changes extend to journalists and legal observers.

  SPD Response: The protections granted      to members of the media and legal observers is
  rooted in law. These protections afford them the right to remain in an area following an
  order to disperse for purpose of monitoring and reporting on police activity. While SPD
  respects the services of those who provide medical aid to others in a crowd, SPD chose not
  to include "protest medics" in policy for three primary reasons: (1) to SPD's knowledge,
  there is no uniform way to determine whether an individual is validly there in a medical
  capacity (unlike media/legal observers who carry specific identification); (2) practically,
  because SPD will not interfere with any individual, medic or not, attempting to provide first
  aid to another so long as the medic does not disrupt lawful police activity (as has been seen,
  e.9., on one occasion this summer with a medic seeking to "de-arrest" an individual being
  placed in custody), there is no distinction between a "protest medic" and any good
  Samaritan in the crowd; and (3) if an individualis injured to the point where they are unable
  to follow lawful commands, it is incumbent upon SPD to summon SFD for medical aid. That
  said, we are open to engaging in further discussion around this recommendation.

  Recommendation 10: Remove taser sparks, advisement, and warnings from de-escalation
  tactics. Change "avoid taunting and insults" to strictly prohibit them. Add validating the
  experience of the people you are addressing and meeting them where they are.

  SPD Response:

  r   Taser sparks: We acknowledge that there seems to be a great deal of misunderstanding
      about how we use Taser sparks as a form of de-escalation. Policv does not allow Tasers
      to be sparked   as athreat. Where other de-escalation tactics have proven ineffective,
      and where an officer is at the point of deploying a Taser, policy allows for Taser sparks
      as a penultimate advisement, accompanied by verbal explanation, to urge an individual
      to comply ("1 don't want to have to tase you; this is what it sounds like."). We have
      observed through the force review process instances where such an advisement has
      been effective in resolving incidents without any use of force. These instances are
      carefully reviewed, along with an officer's tone of voice and behavior. We believe that
      outright prohibiting this an option along the force continuum would only eliminate an
      option that, if performed as trained, may lead to a better outcome for all.
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  a   Taunting and lnsults: We agree with this recommendation, and have changed the
      verbiage in policy (8.100) accordingly ("Taunts and insults are prohibited.").

  a   Validating Experience: This recommendation reaches the core of Manual Section 5.001
      ("The Department expects all employees to treat all people with dignity; remember that
      community care-taking is at times the focus, not always command and control; and that
      the guiding principle is to treat everyone with respect and courtesy, guarding against
      employing an officious or overbearing attitude and refraining from language, demeanor,
      and actions that may cause the individual feeling belittled, ridiculed, or intimidated.").
      These principles are also addressed in Manual Section 1.6.770, Crisis lntervention.

  Recommendation 11: Do not use weapons that have not been codified into policy and do
  not introduce new weapons in policy without them being vetted by the community.

  SPD Response: While the Charter of the City of Seattle places responsibility on   the Chief of
  Police to determine rules and regulations for the Department, SPD is always willing to
  engage in productive discussion with the CPC and Community around the tools and
  weapons that it maintains. With respect to the pepperball launcher, which was introduced,
  in part responsive to CPC concerns around blast balls, as a more targeted alternative, please
  note that the authorization did conform with policy as it followed specific approval by Chief
  Best.

  Recommendation     12:   Do not charge SPD officers with investigating the actions of their
  fellow officers.

  SPD Response: Ultimately, under the Accountability Ordinance,     the Office of Police
  Accountability is responsible for investigating the actions of SPD employees where
  misconduct is alleged. The chain of command reviews set forth in Manual Section
  8.400/8.500 that were implemented as part of the Consent Decree are rooted in the
  principle that sustained organizational reform is best achieved through an internally driven
  commitment to iterative, critical review of department actions and decisions. SPD believes
  that its internal review processes are both demonstrably strong and complementary of -
  not in lieu of - external independent oversight.

  Recommendation 13: Humanize language through the SPD policy manualto prompt
  culture change. Replace "subject" with "person," "tools" with "weapons," and "less-lethal
  tools" with "potentially lethal weapons." Remove all references to "us versus them." We
  encourage SPD to adopt this language beyond the policies being reviewed.

  SPD Response: We accept this recommendation         with respect to changing "tools" to
  "weapons." We are open to continuing discussion, but decline to change additional
  verbiage in this round of revisions for the following reasons:

  a   Subject v. Person: SPD uses the term "subject" uniformly throughout the policy manual
      in order to denote the role of the individual within the encounter, regardless of
      encounter (to distinguish, e.g., between witnesses, victims, arrestees). Changing the
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             verbiage in 14.090 or Title 8 would require, for consistency, a change in verbiage
             throughout the manual, which would require a more substantial review.

        a    "Less-Lethal [Weapons] v. "Potentially Lethal Weapons": The term "less lethal" is used
             as industry practice to distinguish between those weapons that are highly unlikely to
             cause lethal injury and firearms, which is by definition a use of deadly force. However,
             as not all firearm injuries are fatal (indeed, many are not); the term "potentially lethal
             weapons" would by definition encompass firearms as well, which carry with them
             restrictions that should be separately addressed.

        a    "Us versus Them": We have found no references to "Us versus Them" in our policy
             manual. lf the CPC could provide specific reference, we would welcome being so
             directed, as we agree that there is no place in our manual, or in policing, for any such
             sentiment.

        Recommendation 14: Publicize, annually, a schedule of all SPD policies that will be
        reviewed, when they will be under review during that year, and deadlines for feedback.

        SPD Response: The    Audit, Policy, and Research Section maintains a review schedule for
        policies, which we have previously shared with CPC, and which we remain willing to share.
        ln previous years, the CPC also maintained, separately, a schedule of policies it placed high
        priority on reviewing, and routinely engaged SPD in discussion around those policies
        regardless of whether they were on the APRS schedule. lf CPC determines to reconstitute
        its policy review practices, SPD remains a ready partner.

        Recommendation 15: Disclose to the community, within 60 days of this letter, how          SPD
        has incorporated community feedback and recommendations issued here.

        SPD Response: SPD provides this letter      to achieve exactly that level of feedback. Consistent
        with this letter, you will also see certain of your recommendations captured in the revisions
        that are due to be filed with the Court later this month. Separately, when those revisions
        are filed, SPD will provide clear explanation to the community as to how it has incorporated
        DOJ, OPA, OlG, CPC, and Community input.

Thank you for your thoughtful review. Good policy is best driven when all stakeholders are given a voice,
and I and my leadership team look forward to continued discussion as we continue our hard work to
advance the complicated social science of policing and public safety.



Sincerely,




Adrian Z. Diaz
Chief of Police
Seattle Police Depa rtment
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                EXHIBIT C
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Seattle Police Department
Crowd Management and
Use of Force Policies
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                                                 2012-2013
                            Development of SPD Manual Title 8, Use of Force
                Use of Force Core Principles/De-Escalation
Consent         Using Force
Decree          Use of Force Tools
                Use of Force Reporting and Investigation
                Reviewing Use of Force
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Monitor’s Memo Submitting Use of Force Policies for Court Approval
                       November 2013
“After 15 or more marathon negotiating sessions facilitated by the Monitor…; after many conference calls,
telephone conversations and meetings…’ after the Parties reached consensus in August 2013 and the Monitor
published the use of force policies or comment; and after nearly four months in which the Monitor and Monitoring
Team performed independent research and received and considered recommendations, including those of the
community, the Community Police Commission, the two police unions, and others, the Monitor hereby submits the
consensus Seattle Police Department Use of Force Policies. …

[These] policies … are congruent with Constitutional requirements. In addition, these policies embody best practice
and reflect the policies and practices of the finest law enforcement agencies in the country.”
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                                       Consent Decree, paragraph 180:
                          “SPD will review each policy, procedure, training curricula and training
                          manual required by the Settlement Agreement 180 days after it is
                          implemented, and annually thereafter (on a regularly published
                          schedule), to ensure that the policy or procedure continues to provide
                          effective direction to SPD personnel and remains consistent with the
Commitment                purpose and requirements of the Settlement Agreement and current
                          law.”
to Iterative
Review                          “This process of critical self-analysis and self-correction is a
                                 fundamental goal of the Consent Decree and will be taken
                                                           seriously.”
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•   Monitoring Team/DOJ/
    Court approval                               New/Updated Policy
                                                   Implemented
•   Labor Negotiation




                        Policy Revisions
                (Draft Updates, Stakeholder                                          Training
                        Discussions)




                                  Stakeholder                   Critical Review of Policy in
                            Recommendations/Feedback            Practice/Field Experience
                             (SPD Personnel, OPA, OIG,           (Force Review, Chain of
                            CPC, FRB, Law Department)                  Command)
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Critical Review
of Force
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                                               Use of Force, Title 8
                        December 2013:               Court approval of draft policies
                        January 2014:                New policies published as Title 8
                        September 2015:              Revised policies published
                        January 2019:                Revised policies published
                        September 2019:              Revised policies published
                        June 2020:                   Revised policies published
                        December 2020:               Proposed revisions distributed for review
Significant
Dates                         Crowd Management, Manual Section
                                          14.090
                        January 2014:                Policy published
                        September 2015:              Revised policy published
                        March 2017:                  Revised policy published
                        November 2018:               Revised policy published
                        December 2020:               Proposed revisions distributed for review
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                            Reflect Tactical Adaptations Implemented
                                         Summer/Fall 2020
Crowd                      • More robust emphasis on crowd intervention tactics that focus on
Management                   isolating and arresting law violators within an otherwise peaceable
                             assembly
                           • Reducing SPD visible footprint in order to avoid escalation that
                             may result from an SPD presence
2020-2021                  • More robust use of social media to distribute information and
Revisions                    direction in real time
                           • Formalizing in matrix form considerations around principles of
                             crowd management, intervention, and control
                           • Emphasizing de-escalation and force modulation responsive to
                             changes in crowd behavior following an order to disperse
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                                 Build on and Complement Existing
                                Policy/Intended to Provide Additional
Crowd                           Guidance to Officers and Community
Management                 • More robust statement of purpose that embraces Seattle’s
                             approach to facilitating public assembly over and beyond First
                             Amendment activity
2020-2021                  • Acknowledging potential for escalation through officer appearance
                           • Additional guidance around the role of legal observers and media
Revisions                  • Emphasis on crowd intervention strategies where safe and feasible
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                            Incorporate Recommendations Issued by
                                      OIG, OPA, and CPC
                          • Implementation of matrix to better align response to crowd
Crowd                       dynamics
                          • Use of social media to communicate expectations and dispersal
Management                  orders
                          • Revisions to dispersal order/requirement for announcement to
                            better inform of conditions and reflect expectations
2020-2021                 • More robust statement of the policy’s purpose
                          • Introduction of the pepperball launcher as an intermediate, less-
Revisions                   lethal option to blast balls for area denial and intervention
                          • Implementing strategies around de-escalation, including a reduced
                            visible presence
                          • Additional documentation around pre-event planning and tactical
                            considerations
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                             Align with Provisions of the Preliminary
                           Injunction entered in BLM v. City of Seattle
                          • Incorporation of crowd intervention tactics
Crowd                     • Clarification of the rights, roles and identification of media and
                            legal observers
Management

2020-2021
Revisions
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                                           Policy Objectives
Clearer guidance to officers, supervisors, and commanders in employing agile strategies that support
protected rights to free expression and peaceable assembly across a spectrum of crowd
management events:

•   Small gatherings that require no police support
•   Permitted marches (celebratory and protest) requiring traffic coordination
•   Large-scale, unpermitted demonstrations requiring ad hoc traffic control
•   Large-scale events where activities outside of First Amendment protections, including significant
    traffic disruption, property destruction, and/or threats of violence require a greater police
    presence.

Provide guidance by which officers and supervisors may objectively determine at what juncture a
demonstration or assembly leaves the realm of legal protest and becomes an abridgement on the
life-safety and property rights of others, which SPD is equally responsible to safeguard.

Emphasize that at all times, SPD’s response will be based upon the conduct of those assembled, not
the content of their speech or affiliation.
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                             Feedback From Force Review Board/Unit,
                              Crisis Response/Patrol, Accountability
                                       Partners, and Others

                           8.100 – De-escalation
Use of Force
                           Added “pattern interrupt” as a communication tactic (technique to
                           change a particular thought, behavior or situation based in behavioral
2020-2021                  psychology and neurolinguistic programming).

Revisions
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8.200 – Using Force
Prohibits intentionally placing a knee on the neck of a prone subject

Complete prohibition on neck-holds/chokeholds

Reiterates requirement for verbal warning prior to using deadly force (stated elsewhere in policy as
well)

Added additional circumstances in which officers will summon medical aid, including
• Where a subject states they cannot breathe or is having difficulty breathing
• Any canine bite
• OC (pepper spray) applications (where the person is still on-scene)
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8.300 – Use of Force Tools
•   Added pepperball launcher
•   Removed stop sticks/added stationary tire deflation device (STDD)
•   Moved prohibition on use of force on restrained subjects to its own section
•   Moved requirement to issue warnings prior to use of less lethal tools into its own section to stress
    importance of warning
•   Clarified definitions for canine use, including adding definitions for on-lead, off-lead, and
    evidentiary confirmation track
•   Clarified crimes for which a canine can be deployed
•   Clarified warnings for use of canines
•   Requires a FIT investigation of any accidental bite
•   Clarified requirement for battery functionality tests for Tasers
•   Amplified the requirement to direct OC spray towards the specific threat where multiple persons
    are present
•   Added prohibition on using a STDD on moving vehicles
•   Clarified deployment of blast balls
•   Created exception for trained patrol officers to use 40 mm less-lethal launcher in crowd control
    situations, upon Chief approval
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8.400 - Use of Force Reporting and Investigation
• Updated classification chart consistent with updates on types of force and investigations
• Removed stop sticks (previously removed via interim policy)
• Clarified requirements for FIT screening where injury is a chipped tooth or non-serious joint
  dislocation
• Removed requirement for Training representative present at the scene of a FIT call-out
• Removed policy that delayed administrative interviews where criminal conduct is suspected For
  witness interviews, authorized sergeants to delegate the interview to another sergeant or to an
  officer who has received appropriate training.

8.500 – Force Review
• Revised to allow for Sentinel Event Review of crowd management events of long duration or large
  scale, through the OIG
• In crowd management situations, added requirement that commanders document, in their use of
  force statement, their considerations as set forth in the matrix provided in 14.090.
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                      January 2021:                 DOJ/Community/OPA/CPC/OIG Feedback

                      February 2021:                2021 Revisions Filed with Court

                      March 2021:                   Training

                      Winter/Spring 2021:           Sentinel Event Review
Next Steps
                      Summer/Fall 2021:             Drafting of 2022 Revisions

                      …. And so on…
                                                           Policy   Training



                                                                Review
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            QUESTIONS?
https://spdblotter.seattle.gov/2020/12/16/spd-seeks-community-
feedback-on-draft-use-of-force-crowd-management-policies/
